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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
KCB:AMR                                             271 Cadman Plaza East
F. #2022R00940                                      Brooklyn, New York 11201



                                                    May 3, 2024

To Be Filed Under Seal

By ECF

The Honorable Marcia M. Henry
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Terrence Wise
                     Docket No. 23-CR-9 (DG)

Dear Judge Henry:

               The government submits this letter in response to the Court’s May 2, 2024 order
directing the Metropolitan Detention Center (“MDC”) to provide an update regarding the
defendant’s medical treatment by May 3, 2024 at 5:00 p.m.

            A representative of MDC has provided the government with the following
summary, which is quoted below:

              On November 7, 2023, Mr. Wise had a chest X-ray done and no
              mass was noted at that time. On February 29, 2024, Mr. Wise went
              out to the Brooklyn Hospital Center (TBHC) for a CT scan because
              of a 7-mm calcified nodule in the right lung. MDC Brooklyn did not
              receive the results until March 11, 2024. The CT scan shows a 3.6 x
              2.3 x 3.6 cm mass. The results were somehow missed by the health
              services department, and the delay was unfortunate. Health Services
              Department generally respond to sick calls within 2 weeks. The
              March 11th sick call was missed but the sick calls received thereafter
              were responded to on April 26, 2024.

              On April 29, 2024, MDC Brooklyn’s Clinical Director, Dr. Bruce
              Bialor, submitted an emergency consult and had Mr. Wise admitted
              to the hospital or further urgent workup including biopsy. On April
              30, 2024, Dr. Bialor learned from the Resident, Dr. Haggiaigi, that
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              Mr. Wise’s mass has grown to 6 cm. Mr. Wise most likely has
              cancer, and Dr. Bialor requested both metastatic workup and
              Oncology Consultation after the biopsy is done.

              Should the Court wish to discuss this matter in detail or require
              additional specific information, MDC Brooklyn would be happy to
              provide.

               Representatives of MDC have also informed the government that the defendant
will have additional tests to determine whether any cancer has spread to other parts of his body,
including scans of his head, abdomen, pelvis, and bones, and that he will be seen by an
oncologist before being discharged from the hospital.

             Because this letter discusses the defendant’s personal medical information, the
government respectfully requests that it be filed under seal.


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                            By:      /s/ Andrew M. Roddin
                                                    Andrew M. Roddin
                                                    Assistant U.S. Attorney
                                                    (718) 254-6455

cc:    Clerk of Court (DG)
       Magistrate Clerks
       Mia Eisner-Grynberg, Esq.




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